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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 17-21123-CIV-ALTONAGA/Goodman

  RENZI BARBERI,

          Plaintiff,
  v.

  VICKY’S TIRE
  FORMULA 1, INC., et al.,

        Defendants.
  ________________________/

                           ADMINISTRATIVE ORDER CLOSING CASE

          THIS CAUSE came before the Court on Plaintiff’s Unopposed Motion to Continue Trial,

  filed on December 19, 2017 [ECF No. 57]. In the Motion, Plaintiff requests a continuance of the

  January 8, 2018 trial for medical reasons that will impact his ability to properly prepare for trial;

  his proposed order requests an April trial date. After careful consideration of the Motion, and

  being fully advised, it is

          ORDERED AND ADJUDGED that the Clerk of the Court is DIRECTED to mark this

  case CLOSED for statistical purposes only, and all pending motions are DENIED as moot. The

  Court nonetheless retains jurisdiction and the case shall be restored to the active docket upon

  Plaintiff’s notification he is recovered sufficiently to proceed with the case. This Order shall not

  prejudice the rights of the parties to this litigation.

          DONE AND ORDERED in Miami, Florida this 20th day of December, 2017.


                                                            _________________________________
                                                            CECILIA M. ALTONAGA
                                                            UNITED STATES DISTRICT JUDGE

  cc:     counsel of record
